                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                               No.: 1:23-MJ-00230

v.                                                    INFORMATION
                                                      PENALTY SHEET
ANDREW BLAIR HOWARD,

             Defendant.
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COUNTS 1-2: Tampering/Vandalism, 36 C.F.R. § 2.31(a); 18 U.S.C. § 1865(a)

Maximum penalty: Not more than 6 months and/or $ 5,000 fine [36 C.F.R. § 1.3(a); 18
U.S.C. § 1865(a); 18 U.S.C. § 3571(b)(6)]

Probation: Up to 5 years [18 U.S.C. § 3561(c)(2)]

Special Assessment: $10 [18 U.S.C. §§ 3013]

Restitution: Mandatory [18 U.S.C. §3663A]




Date: May 23, 2023                              /s/ Lauren F. Biksacky
                                                Counsel for the United States

Submitted in accordance with Admin Order 17-MS-046




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